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                                         AFFIDAVIT IN SUPPORT OF



           I, Geoffrey J. Kelly, being duly sworn, state that the following is true to the best of my

knowledge, information, and belief;




           l.     I am a Special Agent with the Federal Bureau of Investigation ("FBI") and have

been so employed for twenty-six years. Prior to my employment             with the FBI, I served for three

years as a police officer with the Mehopolitan Transportation Authority Police Deparfinent in

New York City. Since February 1996, I have been assigned to the Boston Division of the FBI. I

am currently assigned to the Lakeville Resident Agency in Lakeville, Massachusetts, where my

primary duty is the investigation of violent criminal offenses, to include offenses involving the

interstate hansportation of stolen property. Prior to my current assignment, I worked for

approximately eight years on the Boston FBI's Violent Crimes Task Force. Throughout my

career, I have participated in hun&eds of violent crime investigations and during these

investigations, I have executed search and arrest warrants, utilized informants, interviewed

witnesses, and conducted surveillances.

           2.     Based on my training and experience, I am aware that        Title l8 of the United

States Code, $2314, makes      it   a   crime for anyone to transport in interstate cornmerce goods,

wares, or merchandise valued at $5,000 or more, knowing the same to have been stolen; and that

Title   18 of the United States Code, $ 371, makes it a crime to conspire to commit such an

offense.

           3.    I make this aflidavit in support of a criminal complaint charging each of the

defendants with the following:


                                                        1
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                a, Ronald PATERSON,Jr.ぐ TATrERSON'')date Ofbinh:テ o(/漑 1990,wih

                      宙olations of 18 U,S,C.§ 371,conspittcy,and 18 UoS.C,s2314,

                      営anspoHation oFstolen rnatedals in interstate comunerce,which occutted on

                      or about he followhg date:

                              ie September 17,2021 in Wrentham,Massachusetts.

                b.                                                                 itt violations

                      of18 U.S.C.§ 371,conspimcy,md 18 UoStC.§ 2314,営 anspOHation oFstolen

                      matenals in血 鶴 協te∞mmerce,which occured on or about he foliowmg

                      date:


                          i, Septtmber i7,2021 h Wrenhm,Massachusetts.

                c.L                                                                   wih
                     violations of 18 U,S.C.§    371,conspiracy,and 18 U,SoC.§   2314,

                     営anspOnation Ofstolen:nateials h intersttte comrnerce,which occurred on

                     or about the foliowing date:


                          i. September 17,2021in Wrenham,Massachusetts,

        4.   The facts stated hereh are based on my oMl personalinvolvement         Ⅶ 血 this

hvestigation)as well as ttom hfomation pЮ 宙ded to me by oheriaw enforcement ottcers

mvolved in the investigation.In subtttittng仕 五s aridavit,I have notincluded each and every fact

i《nown to me about his investigation,I:m only submi位 ねg eE10ugh evideti∝ necessaり tO

esttblish tte requisite probable cause.




                                                    2
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                                    Commercial Burttlaw Acd宙 仲

        6.     As far back as October 12,2020,a number oFconunercial burgia正            es have

occured at retail establshnents in a number oFciti9s and towlls thrOughout the Eastem United

States,including Wrentha■ 1,Massachusetts,The burgianes targeted retail stores cawing luxury

brand merchandise.Bastt on he method oFoperation ofthe suttectS responsible Forthese

co:Ⅲ nercial burginesぐ ̀the bwgiars"),I beheve that hese burgiaries are ali comected.hese


burgi瀬 es an occlir iate at night and he burgiars gain entry to hese estabhshnents by breaking

血e stores'windows md′        Or doors using a smaIItool.The burgi∬   たs   are ali very similar because

th叫   ねvЛ ve he sme brands,Gu∝ i,Burbe叫 ぅ
                                        Cmada Goose ttd M∞ se Knucpe&

                                        GUCCIBURCLARY
                                        l Premium Outlet BIvd
                                           Wrenthanl,MA
                                         SeDteコ aber 17.2021

        7.    On SOptember 17,2021 at approxitnately 12:24a.m。            ,Wrenthセ un Ponce respOnded

to a burgiar alaHn atthe Cucci store,Suite 545 atthe Wrenthm Vinage Premiuttn Outlets.

om9ers amved on scene and determined hat he blirgiars had gained entt to the store by

smash血 g the giass ttont door,FЮ m areview of宙 deo suⅣ eill:m∝ ,it was deteHllined血 試 four

suspects entered he store.


       8.      Accordhg to an inventoり conduct《 xi by store ernployees in the、vake oFthe

burglaり ,approximately S32,000 USD in merchandise was stolen.

                     l LRSON has been identiFled as a suspectin this bwglav based on
       9.      PA二

investigators tying PA田『ERSON to muitiple similar bw81aries houghout he coun町 ・h the

previous year investigators have identiied PATrERSON in silnilar instan∝          s via phone r∝ords




                                                   3
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and his social media posts,On muitiple occasions PAttERSON has posted on his           OfferUp"】

and lnstagram a∝ ounts items for sale hat were identicalto merchmdise hat was stOlen dwing

the burglaries that he suspected to have co=Imitted.


           10.    For exmple,on September 17,2021,which is the saHrle date as the(3ucci

burgiary,PATTERSON posted on his hstagrain accOunt2 that he had Gucci bags available for

sale, PArrERSON also posted images oFthe bags fbrsale,which appeared to be identical to the

Cucci bags stolen during the bwgiary.

        11.       Subsequentto the Cucci burgiary on september 17,2021,investigators obtained

T‐ Mobile   cell phone r∝ ords for                      d Ronald PATTERSON via asta俺

search warant.

        12.As more ttlly detailed below,hose records gene盟 1ly show the phones belonging

to               nd PAttERSON moving up ttm the Marylmd/Washington DoC.area,and

山 ough Com∝ ticut,piorto he burgiary.hvestigation,also dettiled below,revealed hat he

suspects visited a 7‐ Eleven and had a tire changed while in Connecticut,an event capmred On



ユAccording to ttle∞ mpany's website,OfferUp is a pee卜 to‐ peer comrnerce site where local
buyers and sellers connectto buy and sen products,Potential buyens caǹ̀instantly rnessage
sellers securely ttough the app to negotぬ te pnce and stt up a dme to meet."
fhttsi′ ′
        益 outoorFemo.∞  myour̲stow)(last宙 Sited 04/09/2021)PArrERSON's     Orerup"
a∝ ount,   ヽさ 。■play"had m associattt phone number of(202)631‐ 9954.Thtt infomation
was obtained thOugh the website,LeadsOnlhe.com,which orFers,among oherthings,access to
OrFerUp subsciber infolニ ュニ
                          ation.

2 Agents believe this is Patterson's lnsttgram account b∝
                                                            ause ofthe nurrlerous picmres Of
Patterson on this account,It appears Patterson was町     血g to be a model md law enforcement
beheves this accountis used by him.




                                                  4
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surveillance footage descnbed below.「 Fhe phOnes then ttavened tO he area ofWrentham. Aner

the burgiaり ,the phones can be traced to a location in Maryland,a location ttom which

PAHERSON posted a video to lnstagram.

        13.     An examination ofO              ne r∝ oК is,showed hat on September 15,2021

at appЮ ximately&16p.m。     ,cell‐   siteinfomation showe          hone wasin he Maり land

area and subsequently ttaveled noHh.On September 16,2021 at approxirnately 3:41a,m.,

              e was iocated in Fairield,Conn∝ ticut.The phone remained in the Fai面      eld,


Conn∝ ticut    area and then at approxilnately l:ll p.:n         ne is iocated in the

iHlmediate area ofhe Towi Fair Tire in Stratford             ne hen leaves he SttatFord,

Cotin∝ ticut area at approximately 3:Hp.m.and is active h血 e宙ciniv ofthe wrentham

Village Premium Outlets aner 5:30p.m.

        14.     Between 5:34p.rn.and 5:49p.rn.,there are multiple conlmunications between

          one and PA田 阻RSON's phone.At 5:49p.m.there is a th厳 り s∝ond              phone call

betteen these tto phones.h reviewing suⅣ eillance宙 deo at he Wrenham Village Outlets,

PATrERSON can be identined on vid9o suⅣ eillance md seen talking on the phone at he time

           cords
his phone К〕         also show heisttHngt              FЮ rn appЮ xil■ ately 6:42p.m.t07:03

p.:n.            one is iocated in Mansfleld,Massachuse臨 . Froni appЮ xiinately 7:36p.:n.to

H:53p.m。 ,              e remained located h the Piainville/Wrenham area ofMassachusetts.

The burgiaり occtted at approxirnately 12:20 atm.

        15.     At appЮ ximately 6:46a.moaner he bwgiary,                is located in ttle

Havre de Crace,Maryland area.At approxmately 9:15a,m。                 ne is located back in

the Wa前 山gton,DoC。 /Maり land area.




                                                 5                             お
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          16。     Cell site infoコ mation for PATTERSON's phOne number,202‐ 63卜 9954,which

had been obtained by state search wam:lts,showed that the phone had a siHlilar ttavel pattem as

                ne:()n September 15,2021 around 8:35p.rn。 ,celi site records showed

PAHERSON's phone in the Maり land area and subscquendy ttaveled mo五 h.At approxil■ ately

3:08a.m。 っPATTERSON's phone is located in Fairrield,comecticut.The phoneremains h he

Fattield,Cotin∝ ticut area and at approxiinately l:04p.:■ .,PA羽 阻 RSON's phone is iocated in

the area oFthe Town Fair Tれ in Stratford,Co:in∝ ticut.PAttERSON's phone hen ttaveis into

Massachusetts.At appЮ ximately 7:37p.m。 ,PAHERSON's phone is coHrmunicating wih

            ne.At hattime,PATrERSON's phone is iocated in the area ofthe Wrentham

Village Premium Outlets.PATrERSON's phone remains in the Plain宙 lle/Wrentharl tta

hough ll:15p.m,

          17. At appЮ 斌mately 6:55a.m.the following moming,PArrERSON's phone is

iocated in tte Havre de Crace,Mavimd areao As dettiled below,PAttERSON made m

hstagram post at 6:55a.mo while ata Wame Housein Hare de Crace,Maryland.At

appro対 mately 9:30a.m.,PATrERSON's phone is located in the Washington,DoC.areat

          18. h an efFortto ttack PArrERSON's whereabouts at he times before,duing,and

anerthe september 2021 burgiaり ,agents have reviewed Posts made on PATTERSON's

hstagramo PATTERSON's account is public,and anyone can go odine and view it,The posts

include lnstagmm story videos,、 vhich are videos rnade that people could chck on to view.

          19.      On September i6,2021 at ll:52a.m.,PA「 FTERSON posttd a video with the

caption    Massachusetts"and videos ofhit and a bag Ofpicme bites which bore the 7‐ Eleven

iogooln the background ofPAttERSON's video,however,there is a s縫 烈 whiCh reads

 SouthpOrt."




                                                 6
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        20。   Using Coogle sttcet view,investigators believe that the vid∽        PATrERSON
posted was acmany taken in the pttrⅢ dng iot ofa Town Fair Tire store in the Southport section of


Fairneld,connecticut. Additionany,it was dete川 ユ
                                               ニined thatthe video taken in Conn∝ ticut was

仕om the Town Fair Tire location where,as detailed below,suⅣ eillance video shows

PAHERSON andthe ohersuspects.

        21.   Having reason to beheve that PAHERSON's video was taken in SouthpoH,

investigators reviewed suⅣ eillance video ttomi a 7‐ Eleven iocated at 3232 Post Road in

SouthpoH,Connecticut.In reviewing the video rrom■ lis iocation,it was detemined

PAHERSON plirchased Food here.

        22.   Employees ofthe Town Fair Tire recalled a group ofindividuals ariving at the

store at approxirnately 4:00a.m.hour on September i6,2021 in a Toyota with dark tinted

windows and purple wheeis. The vehicle had a nattire and the occupants ofthe vehicle had

waited in the paridng iot until the tire business opened. This paHicular Town Fair Tire did not


have the replacement tire they re■ uired,so the individuals were directed to a'「 own Fair Tire


located at n4 Honeyspot Road h SttatFord,Comecticut.

      23.     hvestigators have reviewed video suⅣ       eillance l予oln the「 rown Fair Tire in


SttatFord. h this suⅣ eillance these individuals were dressed in ciothing which appeared


ide直 icalto that wom by the burgiarsi Suspect#l(PAコ 「ERSON)who              emerged ttom he五 ght

rear passenger seat was weanng a dark sweatshirt with a disthct design on the ttont and back

with red showing hanging ttom he back,black pants witt distinct design on the len iower ieg

and wore black sneakers wih a white around he botom ofhe soles.Suspect                              who

emerged ttOm he ttont passenger seat was wea五      ng a dark t‐ shin,dark   pants,white socks and

black sneakers,Suspect諄 3,(lmidentitted)thh in statte,had broughtin a tire ttom a direrent




                                                  7
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p航 ofhe garage and was weコ ring        a dark sweatshiH,had iong dreadiOcks visible,and was

weanngjeans,Suspect                            ho waSと                             eadlocks ied up
                                                          "ing he vehicle hadと
in the back and was wearing a white shin,black pants,and black shoes with white visible in the

heel,as renected in he Wrenthani suⅣ eiIIance video.

          24. On September 17,2021 at 6:55a,m。 ,PA田「ERSON posted anoher宙 deo with the

caption    New Jersey." A Wame Holise restaurant can be seen in the background, Investigators

reviewed Wame House's website and deteHュ ニ
                                         ined hat here are no Wame House restaurants in

New Jersey.Using Coogle sttet view,investigators believe that they have located a waFne

House restaurant hat matdies he one depicted in PATrERSON's videoi namely)the Wame

House located at 808 PulasM Highway in Havre De Grace,Maryland。           (ThiS is he same location

to which bo                nd PAコ『ERSON's phones can be traced that moming)。

          25.hvestigators contacted he Secttity Director forヽ      Vame House restaurants,who

provided suⅣ eillance images ttomithe lttawe de Gmce Wame House. A review ofthese

suⅣeillance images detelmined hat on September 17,2021 at 6:55a,m。 ,a black Toyott sedm

with dark tinted、vindows and mo ttont license plate backed into a space in ttont oflhe restallrant,


Tttee black males exited the vehicle and entered the restaurant;hey were the only patrons

inside. irhese individuals are、 vearing clodting whch appears identical to that、   vom by he

burgiars in he Gucci burgiary which occured earlier hat mommg based upon a re宙 ew of

Wrenham vid∽ suⅣ eillan∝ 。SuⅣeilitm∝ images shows one ofhese males e斌 t               he restalirant

and wak tO the vehicle,where he bneny remOves a nlimber oFwhat appearto be Gucci dume

bags,signilar to the ones stOlen dunng the burgiary.


        26.Aner learning that he suttects had b∝ n in Comecticut before he burglav and

hen lraveled to Maryland aner the burgiaり     ,investigators reviewed surveillance video footage at




                                                  8
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he WrenthaHn Village Outlets to see ifthe sutteCtS mvor he black Toyota sedan had been atthe

shopping center p五 orto he burgiary, Theヽ Vrenthaln Village Outlets'inbound LPR video

camera shows that on September i5,2021 at 5:18 prn.a black Toyota sedan,li∝ nse plate

UFX5712 which appears identicalto the one depicted in the'「        oMi Fair Tire and WaFne】 Iouse

vid∞ s,enter he shopping center.Upon ente面 ng the shopping center,the Toyota took a五 ght

mm intO ne10wer,laza area out oFcamera宙 ew.h searching the Wrentham Village Outiets'

video suⅣ eillance,a shoH pe五 od oft触ne later two rnales are obseⅣ ed walldng rrOm the area of

the lower plaza towards the mah shopping center.Upon ente五 ng the center at approximately

5,29p.m.,both suspects waked into the Nike store.A short time lattr,one susp∝ t exited the

store by hil■   seifand he oher suspectremained in he store.The two evemmally met uP and at

appЮ ximately 5:58p.m.and hey boh entered the Sungiass Hut store.

        27.       SuⅣ eillance video obtained ttot11 lhe Sunglass Hut showed boda suspects holding

cen phOnes in heir hands. At approxirnately 6:01p.rn.,both suspects exited he store and

waked towards he area ofhe Cuccistore.At appЮ ximately 6:09p.m。 ,both suspects waked

的 m he main shopping center and remmed tO the lower plazao At 6:17p.m.,the bl              k Toyota

exited the shopping center and took a nght onto souh Street. When the vehicle exited the rnan,

it was dete▲   Ⅲlined that the li∝ nse plate on the vehicle was Virginia registtation l」 FX5712.

        28.      h reviewing the video suⅣ eillamce ttom he Sungiass Hut store,hese two gnales

appeared to be the saine black rnales obseⅣ     ed in the Town Fair Ttte and Wame llouse

suⅣ eillance.h       companng knownimages ofPAHERSON tothe vid∞               suⅣ eillance ttom the

Sungiass Hut"I believe hat PATrERSON is one the suttectSin he store.This example below

shows a recent knoMl phOto ofPATTERSON and one ttom he above Flentioned suⅣ                 eillance




                                                    9
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      29. h companag iQown images ofO             suⅣ eiliance hagesとom the Smglass

Hut,Nike,Wa.me House,and Towa Fha随 ,I believe hat he oher susp∝ t         depicted h the

SШ glass Hut宙 deoi          e photos beiow show preⅥ ously imown photos

and caphres ttom he abov← mttdoned stteall甑 ∝ 宙deO.




      30. h the宙 d∞ suveillance    ttom Town Fれ   T誰 ,Sungiass Hut ttd Wame House,

        eaFStO be weanag he same pants♪   w皿 絶 socks,and sneakers.While at the

Wren山 甑 Village Oude偽           retwo drerentshi由      :one t‐ sht   and anotheriong

                                                                           b



                                          10
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sieeve t‐ shi威 ;these   shiぬ appeared to be the sme as the ones depicted in the oher suⅣ eillance

nmages.

          31,   he hvestigation deteニ ュ
                                      ▲=hed hat Virginia regis競 瓶on UFX5712 is identiflable

with a 2007 Toyo協 ,black in color,registered to Precious Tyasia Shattar Onley of2648 Schuit

Piace in Waldott Maryland.hvestigators were able to locate re∝ nt police reports in which this

vehicle was involved in a number oF      ♂ab&nm"shoplinings in Virginia.

          32. Li                                 en hnked to this Toyota drough a re宙 ew of

Vttghia poli∝ repoHs.The Lcesburg Poli∝ obtahed b∞ 血            g photos O                tom

arests in 2016 and 2020.h∞ mpttng the bo劇臣ng images o                            one ofttle

individuals depicted in ttle sШ   Ⅳeillance images ttom Town F菰 r Tire,I believeth

is one ofthe individuals depicted. The images desc五 bed above are direcdy below.




       33.       h tte suⅣ eillance video ttom the Cucci burgiary,one ofthe burglars is weanng

clohing to include but not hmited to a white long sleeve whitt shirt and black pants which

appearsidenticaitO he ciohing worn by                     e at Tow▲     l Fair Tire.


                                                  11
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        34.       Ⅵ rginia regぉ 憤ation UFX5712 was run through the Vigllmt Solutions database4

and dete二 Ⅲlined the Following:


             a.   Vigilant had four records ofthe plate being capmred On Iし PR'sin      Maり land and

                  Washington,DoC。 コhe ncense plate was capttred by he LPR on MaHin Luher

                  鷺 ng Jr.Avemuein SEヽ Vashington,D.C.on December 9,2020 at 2:33 ain. The

                  19cation ofthe plate was witthin a short distance of2228 Martin Luttler King Jr


                  Boulevard,which is am histoical address hnked

       35. Virginia registtation UFX5712 was also mn drough the New York City Poli∝

Deparment's database,which deteMBlined that this plate was cap値         red ttveling northbound on

the Ceorge Washington B五 dge on Septtmber 16,2021,which isthe day piorto he Gucci

burgiary at i:20 atm.The plate was cap舶 red ttaveling sOuttbound overthe George WashingtOn

B五 dge on September 17,2021 at 3:41a.m.,、 vhich is approxilnately lれ ree holirs and sixteen

minutes aner he cucci bwgiaり        .




       36。        Du面 ng ttherinvestigation of                     ime amalyst fk)=n the Leesburg

Police DeparmentiOcattd m arestrepoH where                            arested on October 4,2021

at i:30a・ moby    he Libetty Countt Sheifrs Omcein Georgia.The attest report indicated hat

                  stopped aDr Speeding,driving 112 MPH                          s subsequently

arested for not having a vand driver's license and rnanJuana possession.Dunng the booking

process,a booking phOto ofC               s t▲ ken,and he sttted his telephone nllmber was 202‐




4 According to the MotoЮ
                           la's website,Vigilmt PlateSearch LPR sottvare uses̀ゃ atented
analytics and bilhons ofhcense plate scans ttom your agency's own cameras,other depattments
carneras,enterpnse paHners and a nationwide commerdal data network to identi,,predict and
alertto vehicle sighings,"(httSi子       1呻
                                         .motOЮ lasolutionsocttVen uy宙 deo‐ securlけ ‐   a∝ ess‐
∞nttoylicense‐ plate‐ re∞ gnition‐ cagne盟 。
                                          Systems/vigilant‐ platesearch‐ lp卜 analytics‐
sOnwarethmり

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492‐ 1380。 lhe booking phOto was compared to the suⅣ eillance images that were obttined ttom


the Town Fair Tire and investigators came to he conciusion,he person h he suⅣ eilim∝    was

               photos are depicted below.




                                             13
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pЮ bable han not,hereason forthisis beca                        as wih PAHERSON and




       75.he Wrenham Poli∝         Depattent subs9quently obttined a search wamntttom T‐

Mobile r∝ ords lbr telephone nu:nber 202‑492‐ 1380,he subscmber infoHnation was listed to

Shantt GDSON 1402 18血 PL Washington,D.C.20020,A review ofhe cellular re∞             rds

showed he phonelmtttO                       hes山 耐lar     ttvel pattems ttom Mavland up to

Massachuse憔 ,as he phoneslinkedt                   Aコ 「ERSON relative to l∝ ations beFore

dwhg md anerttle bШ「glav at he Cucci store on Septelmber 17,2                         hone

records show his phone leav血 g he Capi協 I Heightt Mavlmd area arourld 7:34p.moon

September 15,2021,On September i6,2021 around 2:16a.m。                         ne is in

Fatrield,CoEinecticuto Around 3■ 5p.m。                    e is h Sttatford,Comecticut.

Around 9:16p.:nt,                ne hits oroFa cell phone tower on Green St.in

Wrenham.The tower iocation is d撤 爵tly behind he Wrenham Village Outiets and remains血

he area hough ll:53p.mo On September 17,2021 arolnd 6:49a.m.,                          is

in Hawe De Cm∝ ,Marylandぅ    and is back in the Washingtonぅ   DoC.area at 8:58a.m.




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                                 CondusEon

     76. Based on he曲 照 蜘 岬 sdbttt山贈 ね即 bable       cause to阿曲 劇 脱 Ronald

PAWRSON,LN                                                         m圃
的      oFi8 U.S.C.s371,oon叩 陣り,and 18 uS.C.s23吼 仕節弾o由tion ofstoim

脚山ids h int― 侍∞mm―      on S蜘山 17,2021側 蜘 嘔           MaStth‑9



                                  Ceo的                 Agぬ t
                                  Fedemi B―■ofhv鶴 螂      甑


鋤 鍼 躙 and ttom to be的 爵 me   dtth前 的     臨   ̲L的   OfNovttb釘   2021.




―
    ANNE B.BOWLER
U正霞iStttttMttmttWudge




                                                               B




                                    iS
Page 16 redacted for the following reason:
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